    Case: 1:22-cv-00084-MWM Doc #: 78 Filed: 07/28/22 Page: 1 of 12 PAGEID #: 4542



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                    CINCINNATI DIVISION


    HUNTER DOSTER, et al.,

              Plaintiffs,
    v.                                                                  No. 1:22-cv-00084
                                                                    Hon. Matthew W. McFarland
    FRANK KENDALL, et al. ,
              Defendants.



           DEFENDANTS’ ANSWER TO PLAINTIFFS’ VERIFIED CLASS ACTION
         COMPLAINT FOR DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF

            Pursuant to Federal Rule of Civil Procedure 12, Defendants Frank Kendall, in his official

capacity as Secretary of the Air Force, Lt. Gen. Robert I. Miller, in his official capacity as Surgeon

General of the Air Force, Lt. Gen. Marshall B. Webb, in his official capacity as Commander Air

Education and Training Command, Lt. Gen. Richard W. Scobee, in his official capacity as

Commander, Air Force Reserve Command, Lt. General James C. Slife, in his official capacity as

Commander, Air Force Special Operations Command, and the United States of America (collectively

“Defendants”), by and through undersigned counsel, answer the separately numbered paragraphs and

prayer for relief contained in the Plaintiffs’ Verified Class Action Complaint for Declaratory Judgment

and Injunctive Relief (ECF No. 1) as follows:

                                            INTRODUCTION 1

         1. This paragraph contains Plaintiffs’ characterization of this action; the paragraph does not

allege facts, so no response is required. To the extent a response is deemed required, Defendants



1
  Defendants have included Plaintiffs’ headings as a reference point. The headings are not factual
allegations to which a response is required.

                                                       1
 Case: 1:22-cv-00084-MWM Doc #: 78 Filed: 07/28/22 Page: 2 of 12 PAGEID #: 4543



admit that the religious accommodation review in the Air Force generally includes a conversation

with a Chaplain. Otherwise, deny.

   2. Defendants deny the allegations of this paragraph, except to aver and admit that as of July

12, 2022, the Department of the Air Force has approved 135 religious accommodation requests to

be exempt from the COVID-19 vaccination requirement: 106 Active Duty Air Force, 22 Air Force

Reserves (including Individual Mobilization Augmentees), 3 Space Force, and 4 Air National Guard.

As of July 12, 2022, the Department of the Air Force currently has 286 individuals in Active Duty

Air Force and Space Force and 145 individuals in the Air Force Reserves with medical exemptions.

As of July 12, 2022, the Department of the Air Force currently has 22 individuals in Active Duty Air

Force and Space Force and 83 individuals in the Air Force Reserves with administrative exemptions.

                                 PARTIES – THE PLAINTIFFS

   3. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.

   4. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.

   5. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.

   6. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.




                                                  2
 Case: 1:22-cv-00084-MWM Doc #: 78 Filed: 07/28/22 Page: 3 of 12 PAGEID #: 4544



   7. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.

   8. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.

   9. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.

   10. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.

   11. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.

   12. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.

   13. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.

   14. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.


                                                  3
 Case: 1:22-cv-00084-MWM Doc #: 78 Filed: 07/28/22 Page: 4 of 12 PAGEID #: 4545



   15. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.

   16. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.

   17. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny. Defendants also deny that Plaintiff Dills was

recently transferred to the Individual Ready Reserve or that any transfer to the Individual Ready

Reserve would violate any law.

   18. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.

   19. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny.

   20. Defendants admit to the name, rank, and duty assignment contained in this paragraph.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations regarding residence, and therefore deny. Defendants also deny that Plaintiff Schuldes

was recently transferred to the Individual Ready Reserve or that any transfer to the Individual Ready

Reserve would violate any law.

   21. This paragraph contains Plaintiffs’ characterization of this action; the paragraph does not

allege facts, so no response is required. To the extent a response is deemed required, Defendants


                                                  4
 Case: 1:22-cv-00084-MWM Doc #: 78 Filed: 07/28/22 Page: 5 of 12 PAGEID #: 4546



admit, except deny that the office of the Secretary of the Air Force is located in the District of

Columbia.

                                 JURISDICTION AND VENUE

    22. This paragraph contains the Plaintiffs’ conclusions of law, not allegations of fact, so no

response is required. To the extent a response is deemed required, deny.

    23. This paragraph contains the Plaintiffs’ conclusions of law, not allegations of fact, so no

response is required. To the extent a response is deemed required, deny.

                                                FACTS

    24. Defendants refer to the cited document for a complete and accurate statement of its

contents. Otherwise, deny.

    25. Defendants refer to the cited document, a memo dated November 23, 2021, “Guidance on

Permanent Change of Stations (PCS) Restrictions for Active Duty Airmen Who Are Not Fully

Vaccinated against COVID-19” for a complete and accurate statement of its contents. Defendants

lack knowledge or information sufficient to form a belief as to the truth of the allegations regarding

what emails Plaintiffs may have received about this memo, and therefore deny. The remaining

allegations contain Plaintiffs characterization of facts, to which no response is required. To the

extent a response is deemed required, deny.

    26. Defendants admit that the Plaintiffs identified in this Complaint have submitted religious

accommodation requests seeking exemptions from the COVID-19 vaccine requirement.

Defendants refer to the cited document for a complete and accurate statement of its contents.

Otherwise, deny.

    27. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.




                                                   5
 Case: 1:22-cv-00084-MWM Doc #: 78 Filed: 07/28/22 Page: 6 of 12 PAGEID #: 4547



   28. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   29. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   30. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   31. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   32. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   33. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   34. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   35. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   36. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   37. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   38. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   39. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.


                                                6
 Case: 1:22-cv-00084-MWM Doc #: 78 Filed: 07/28/22 Page: 7 of 12 PAGEID #: 4548



   40. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   41. This paragraph contains characterization about an appendix that Plaintiffs submitted, not

allegations of fact, so no response is required. To the extent a response is deemed required, deny.

   42. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   43. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   44. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   45. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   46. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   47. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   48. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

whether specific individuals have been previously infected from COVID-19, and therefore deny.

Otherwise, deny.

   49. Defendants refer to the cited documents for a complete and accurate statement of their

contents. Otherwise, deny.

   50. This paragraph contains legal argument, not allegations of fact, so no response is required.

To the extent a response is deemed required, deny.

   51. Deny.


                                                  7
 Case: 1:22-cv-00084-MWM Doc #: 78 Filed: 07/28/22 Page: 8 of 12 PAGEID #: 4549



    52. Deny.

    53. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph, and otherwise deny.

    54. Defendants admit that the Air Force has granted temporary medical and administrative

exemptions, and note the Air Force has also granted religious exemptions. Otherwise, deny.

    55. Defendants admit that the Air Force has allowed, in some circumstances, certain individuals

with HIV to serve in various roles consistent with Air Force policy, but deny that this allegation is

relevant to any issue in this case. Otherwise, deny.

    56. This paragraph contains legal argument, not allegations of fact, so no response is required.

To the extent a response is deemed required, deny.

    57. This paragraph contains legal argument; the paragraph does not allege facts, so no response

is required. To the extent a response is deemed required, deny.

    58. This paragraph contains legal argument; the paragraph does not allege facts, so no response

is required. To the extent a response is deemed required, deny.

                            INJUNCTIVE RELIEF ALLEGATIONS

    59. This paragraph contains Plaintiffs’ characterization of their case; the paragraph does not

allege facts, so no response is required. To the extent a response is deemed required, deny.

                               CLASS ACTION ALLEGATIONS

    60. Defendants incorporate their response to the referenced paragraphs.

    61. The allegations in this paragraph are vague and ambiguous, so Defendants lack knowledge or

information sufficient to form a believe about the trust of these allegations, and therefore deny.

    62. This paragraph contains Plaintiffs’ characterization of the law; the paragraph does not allege

facts, so no response is required. To the extent a response is deemed required, Defendants refer to

the cited rule for a complete and accurate statement of its contents.

                                                     8
 Case: 1:22-cv-00084-MWM Doc #: 78 Filed: 07/28/22 Page: 9 of 12 PAGEID #: 4550



   63. This paragraph contains Plaintiffs’ characterization of the law; the paragraph does not allege

facts, so no response is required. To the extent a response is deemed required, Defendants refer to

the cited rule for a complete and accurate statement of its contents.

   64. This paragraph contains Plaintiffs’ characterization of the requested class; the paragraph

does not allege facts, so no response is required. To the extent a response is deemed required, deny.

  CLAIM I – VIOLATION OF THE RELIGIOUS FREEDOM RESTORATION ACT

   65. Defendants incorporate their response to the referenced paragraphs.

   66. This paragraph contains Plaintiffs’ characterization of the law; the paragraph does not allege

facts, so no response is required. To the extent a response is deemed required, Defendants refer to

the cited statute for a complete and accurate statement of its contents.

   67. This paragraph contains Plaintiffs’ characterization of the law; the paragraph does not allege

facts, so no response is required. To the extent a response is deemed required, Defendants refer to

the cited statute for a complete and accurate statement of its contents.

   68. This paragraph contains Plaintiffs’ conclusory statements; the paragraph does not allege

facts, so no response is required. To the extent a response is deemed required, Defendants deny.

   69. This paragraph contains Plaintiffs’ characterization of the law; the paragraph does not allege

facts, so no response is required. To the extent a response is deemed required, Defendants refer to

the cited statute for a complete and accurate statement of its contents.

   70. This paragraph contains Plaintiffs’ characterization of this lawsuit; the paragraph does not

allege facts, so no response is required. To the extent a response is deemed required, Defendants

deny.

   71. This paragraph contains Plaintiffs’ characterization of the law; the paragraph does not allege

facts, so no response is required. To the extent a response is deemed required, deny.




                                                   9
 Case: 1:22-cv-00084-MWM Doc #: 78 Filed: 07/28/22 Page: 10 of 12 PAGEID #: 4551




                  CLAIM II – VIOLATION OF THE FIRST AMENDMENT
                      OF THE UNITED STATES CONSTITUTION

    72. Defendants incorporate their response to the referenced paragraphs.

    73. This paragraph contains Plaintiffs’ characterization of the law; the paragraph does not allege

facts, so no response is required. To the extent a response is deemed required, Defendants refer to

the cited cases for a complete and accurate statement of its contents.

    74. This paragraph contains Plaintiffs’ characterization of the law; the paragraph does not allege

facts, so no response is required. To the extent a response is deemed required, deny.

    75. This paragraph contains Plaintiffs’ characterization of the law; the paragraph does not allege

facts, so no response is required. To the extent a response is deemed required, deny.

                                      PRAYER FOR RELIEF

          The remaining paragraphs of the Complaint contain Plaintiffs’ requested relief, to which no

response is required. To the extent a response is required, Defendants deny the allegations contained

in the remaining paragraphs of the Complaint and further state that Plaintiffs are not entitled to any

relief.

          Defendants deny all allegations in the Amended Complaint not expressly admitted.

Defendants reserve the right to assert any defense, including improper venue, misjoinder, failure to

exhaust administrative remedies, ripeness, and other defenses in Federal Rule of Civil Procedure 8(c),

not currently known.



Dated: July 28, 2022                           Respectfully submitted,

                                               BRIAN M. BOYNTON
                                               Principal Deputy Assistant Attorney General
                                               Civil Division

                                               ALEXANDER K. HAAS
                                               Director, Federal Programs Branch

                                                  10
Case: 1:22-cv-00084-MWM Doc #: 78 Filed: 07/28/22 Page: 11 of 12 PAGEID #: 4552




                                    ANTHONY J. COPPOLINO
                                    Deputy Branch Director
                                    Federal Programs Branch

                                    /s/ Zachary A. Avallone
                                    ANDREW E. CARMICHAEL
                                    AMY E. POWELL
                                    Senior Trial Counsel
                                    STUART J. ROBINSON
                                    Senior Counsel
                                    ZACHARY A. AVALLONE
                                    LIAM HOLLAND
                                    CATHERINE YANG
                                    CASSANDRA SNYDER
                                    Trial Attorneys
                                    United States Department of Justice
                                    Civil Division, Federal Programs Branch
                                    1100 L Street, N.W.
                                    Washington, DC 20005
                                    Tel: (202) 514-2705
                                    Email: zachary.a.avallone@usdoj.gov

                                    Attorneys for Defendants




                                      11
Case: 1:22-cv-00084-MWM Doc #: 78 Filed: 07/28/22 Page: 12 of 12 PAGEID #: 4553



                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 28, 2022, I electronically filed the foregoing paper with the Clerk

of Court using this Court’s CM/ECF system, which will notify all counsel of record of such filing.



                                                   /s/ Zachary A. Avallone
                                                   ZACHARY A. AVALLONE
                                                   Trial Attorney
                                                   United States Department of Justice
                                                   Civil Division, Federal Programs Branch
                                                   1100 L Street, N.W.
                                                   Washington, DC 20005
                                                   Tel: (202) 514-2705
                                                   Email: zachary.a.avallone@usdoj.gov
